          Case 1:18-cv-10723-ER Document 58 Filed 03/27/21 Page 1 of 1




BALLON STOLL BADER & NADLER P.C.
COUNSELLORS AT LAW                       FOUNDED 1931                        810 SEVENTH AVENUE
                                                                                          SUITE 405
                                                                              N EW YORK, NY 10019
                                                                                  Ph: 212-575-7900
                                                                                 www.ballonstoll.com

                                                                            MARSHALL B. BELLOVIN
                                                                                   Cell: 917-968-4899
                                                                           mbellovin@ballonstoll.com
27 March 2021

VIA ECF

The Honorable Edgardo Ramos
United States District Judge
United States District Court
Southern District of New York
500 Pearl Street,
New York, New York 10007

Re:   Karunakaran v. BMCC, CUNY, et al.
      Case No.: 18-cv-10723


Dear Judge Ramos:

We write to inform the Court that the Plaintiff, Chitra Karunakaran, has chosen to pursue
her case pro se and has discharged this law firm. Ballon Stoll Bader & Nadler, P.C. no
longer represents the Plaintiff. We respectfully request that the docket be adjusted
accordingly.

Respectfully submitted,


    s/Marshall Bellovin
MARSHALL B. BELLOVIN (MB5508)
Member of the Firm


cc: J. Kevin Shaffer, Esq. (by ECF)
